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 IN THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF COLUMBIA

                                                 ) Criminal No. 1:22-cr-00015-APM
   UNITED STATES OF AMERICA,                     )
                                                 )
                        v.                       )
                                                 )
   THOMAS CALDWELL,                              )
                                                 )
   And                                           )
                                                 ) Criminal No. 1:21-cr-00028-APM
   UNITED STATES OF AMERICA,                     )
                                                 )
                        v.                       )
                                                 )
   CONNIE MEGGS,                                 )
                                                 )
                   Defendants

                                          ORDER

       Upon consideration of the Motion to Transfer Venue, any Opposition, Reply in Support

thereof, any Oral Argument, and good cause having been shown, it is this _______ day of April,

2022, by the United States District Court for the District of Columbia ORDERED:

       Based on the foregoing, Defendants have demonstrated that they, as both are

alleged to be members of the Oath Keepers, and/or January 6th Protestors, face

significant potential prejudice in the District of Columbia, and due to the concerns of

ensuring a fair and impartial jury as guaranteed by the Fifth and Sixth Amendments to the

United States Constitution, I order a transfer as a preventative remedy.


       Accordingly, it is Ordered that the Defendants’ cases shall be transferred, and as

the evidence submitted by the Defendants sets forth below, even the Eastern District of

Virginia, with its Alexandria Court House only 8.1 miles from the United States District

Court House in Washington, D.C. would reduce the bias and potential prejudice to these
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Defendants, therefore, the cases shall transfer to the Eastern District of Virginia,

specifically to its Alexandria Court House.


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                                    Respectfully Submitted,



                                    The Hon. District Judge Amit P. Mehta
                                    United States District Court Judge
Copies to all Counsel via ECF
